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           UNITED ST.ATES OF AMERICA
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                                                                            Case   No. 1084 1:17CR01360- 002JCH

                Crvstal Claire Camnos                                   )
                          Defendant                                     )

                                                        SUMMONS IN A CRIMINAL CASE

        YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document filed with the court:

I Indictment E Superseding Indictment E Information                                [1 SupersedingInformation I Complaint
n   Probation Violation   Petition X Supervised              Release   Violation Petition E Violation Notice ! Order of Court


        333 Lomas Blvd NW
        Albuquerque, NM 87102                                                  Date and   rime:   .Iunu ary 24.2022 at 1 :30 p.m.
        Before Magistrate Judge Laura Fashing

This offense is briefly described as follows:
Shoplifting, missed drug tests, failure to report police contact

Date:   January 13,2022
                                                                                            Issilng fficer's signature

                                                                             MITCHELL         LFERS, CLERK OF COURT
                                                                                              Printed name and title




I declare under penalty ofperjury that I have:

             and returned this summons
{executed
ox", lltqlton
                                                                                                  Seryer's signature

                                                                              Ge>'*'          Printed name and title
                                                                                                                    "t-*"-
